                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:04-CR-277-KDB-DCK

 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
    v.                                               )       ORDER
                                                     )
 LAVERN JUNIOR JACOBS,                               )
                                                     )
                Defendant.                           )
                                                     )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 93) filed by John Michael Durnovich, concerning L. Nicole

Allan, on July 7, 2022. L. Nicole Allan seeks to appear as counsel pro hac vice for Defendant.

Upon review and consideration of the motion, which was accompanied by submission of the

necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 93) is GRANTED. L. Nicole Allan

is hereby admitted pro hac vice to represent Defendant.

         SO ORDERED.



                             Signed: July 8, 2022




         Case 3:04-cr-00277-KDB-DCK Document 96 Filed 07/08/22 Page 1 of 1
